                 Case 20-11768-CSS           Doc 405      Filed 09/10/20      Page 1 of 2




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                                                                          Judge Christopher S. Sontchi
5                                                                                          Chapter 11

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9                             UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF DELAWARE
10
       In re                                                     Case No. 20-11768-CSS
11
       LUCKY BRAND DUNGAREES, LLC.
12

13                                            Debtor.

14
                                REQUEST FOR SERVICE OF NOTICES
15
             The State of Washington Department of Revenue, by and through the undersigned Assistant
16
     Attorney General, enters its appearance as a creditor of the above-captioned Debtor and requests
17
     service of all notices and documents for which a request is required by the Bankruptcy Code. Notice
18
     of all matters for which notice is given to creditors, any creditor's committee, or any other party in
19
     interest herein including all schedules, amended schedules, motions, applications, plans of
20
     reorganization, disclosure statements, orders, and other documents and pleadings, including those
21
     in adversary proceedings should be served by email to the attorney for the State as follows:
22

23                                             Dina L. Yunker
                                         Assistant Attorney General
24                                     Bankruptcy & Collections Unit
                                        800 Fifth Avenue, Suite 2000
25
                                          Seattle, WA 98104-3188
26                                         Phone: (206) 389-2187
      REQUEST FOR SERVICE OF NOTICES                         1              OFFICE OF THE ATTORNEY GENERAL
                                                                                  Bankruptcy & Collections Unit
                                                                                    800 Fifth Avenue, Suite 2000
                                                                                 Seattle, Washington 98104-3188
                                                                            Phone: (206) 389-2187 – Fax (206) 587-5150
                 Case 20-11768-CSS          Doc 405      Filed 09/10/20     Page 2 of 2




1                                          Fax: (206) 587-5150
                                       Email: bcuyunker@atg.wa.gov
2

3
            Notice of all such documents and pleadings should also be made to each agency of the State
4
     of Washington that files a proof of claim herein.
5
            The State of Washington further requests that the following address be added to the
6
     court's master mailing matrix:         Dina L. Yunker, Assistant Attorney General, 800 Fifth
7
     Avenue, Suite 2000, Seattle, Washington, 98104-3188.
8
            DATED this 10th day of September, 2020.
9
                                                           ROBERT W. FERGUSON
10                                                         Attorney General

11                                                         /s/ Dina L. Yunker

12                                                         DINA L. YUNKER, WSBA No. 16889
                                                           Assistant Attorney General
13                                                         Bankruptcy & Collections Unit
                                                           Phone: 206-389-2187
14                                                         Email: bcuyunker@atg.wa.gov
15

16
                                     CERTIFICATE OF SERVICE
17
            I hereby certify that on September 10th, 2020, the foregoing document was filed with
18
     the United States Bankruptcy Court- District of Delaware and served upon all parties entitled
19

20   to receive notice of filings in the above-captioned case via the Bankruptcy Court’s Electronic

21   Case Filing (ECF) system.

22                                                         By: /s/ David Pham
                                                                Legal Assistant
23

24

25

26
      REQUEST FOR SERVICE OF NOTICES                       2              OFFICE OF THE ATTORNEY GENERAL
                                                                                Bankruptcy & Collections Unit
                                                                                  800 Fifth Avenue, Suite 2000
                                                                               Seattle, Washington 98104-3188
                                                                          Phone: (206) 389-2187 – Fax (206) 587-5150
